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            Aviva Stahl v. Federal Bureau of Prisons, and Department of Justice
                         Case No. 19-cv-4142 (BMC) (E.D.N.Y.)
                                   Ginsberg Declaration
                                        Exhibit A
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              Aviva Stahl v. Federal Bureau of Prisons, and Dept. of Justice
                         Case No. 19-CV-4142 (BMC) (E.D.N.Y.)
                                Fenstermaker Declaration
                                        Exhibit
                                                                                                     Page 1of1
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Erika Fenstermaker - Re: FOIA #2018-02917 -1/M Mohammad Salameh #34338-054


From:
To:           Fenstermaker, Erika
Date:         8/19/2019 9:52 AM
Subject: Re: FOIA #2018-02917 - I/M Mohammad Salameh #34338-054
CC:           -


Good Morning.

Videos of use of force incidents (tube feedings) are submitted to the Regional Offices. CPD does not maintain
these videos.

Thank you.

>>>Erika Fenstermaker 8/16/2019 3:33 PM>>>
We are currently in litigation regarding the above FOIA request. The requester asked for all videos of any
involuntary feeding/Force Feeding Videos regarding the above inmate. We received 6 videos from the
institution (ADX Florence) but as part of the litigation the requester is saying claiming that we did not conduct a
proper search because per policy all videos must go to Central Office for review and that we should have
requested a search be done of Central Office. While the institution is the logical and reasonably place to search
for the videos, since she is quoting policy we think it would be in our best interest to have a Central Office search
completed.

Can you please see if someone can conduct a search regarding inmate Salameh for any Force
Feedings/Calculated Use of Force videos from January 1, 2002 to December 31, 2015. If you find any videos can
you please forward them the me. Keep in mind if there are any videos found, they will be withheld in there
entirety.

If you have any questions, please do not hesitate to contact me. Thank you.



Erika Fenstermaker
Government Information Specialist
Federal Bureau of Prisons
North Central Regional Office
400 State Ave.. 6th Floor
Kansas City, KS 66101
OFFICE:

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